                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             CENTRAL DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                                No. CR11-3028-MWB
 vs.                                             RULE 11(c)(1)(C) REPORT AND
                                                    RECOMMENDATION
 MICHAEL RAYMOND KESTERSON,
                                                CONCERNING PLEAS OF GUILTY
               Defendant.
                                 ____________________


        On March 15, 2012, the above-named defendant, by consent, appeared before the
undersigned United States Magistrate Judge pursuant to Federal Rule of Criminal
Procedure 11, and entered a plea of guilty to Count One of the Indictment. After
cautioning and examining the defendant under oath concerning the subject mentioned in
Rule 11, the court determined that the guilty plea was knowledgeable and voluntary, and
the offense charged was supported by an independent basis in fact containing the essential
elements of the offense charged in Count One of the Indictment.                 The court
therefore RECOMMENDS that the plea of guilty be accepted and the defendant be
adjudged guilty.
        At the commencement of the Rule 11 proceeding, the defendant was placed under
oath and advised that if he answered any questions falsely, he could be prosecuted for
perjury or for making a false statement. He also was advised that in any such prosecution,
the Government could use against him any statements he made under oath.
        The court then asked a number of questions to ensure the defendant’s mental
capacity to enter a plea. The defendant stated his full name, his age, and the extent of his
schooling. The court inquired into his history of mental illness and addiction to narcotic
drugs. The court further inquired into whether the defendant was under the influence of
any drug, medication, or alcoholic beverage at the time of the plea hearing. From this


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inquiry, the court determined that the defendant was not suffering from any mental
disability that would impair his ability to make knowing, intelligent, and a voluntary plea
of guilty to the charge.
       The defendant acknowledged that he had received a copy of the Indictment, and he
had fully discussed these charge with his attorney.
       The court summarized the charge against the defendant, and listed the elements of
the crime. The court determined that the defendant understood each and every element of
the charge, ascertained that the defendant’s counsel had explained each and every element
of the charge fully to the defendant, and the defendant’s counsel confirmed that the
defendant understood each and every element of the charge.
       The court then elicited a full and complete factual basis for all elements of the crime
charged in Count One of the Indictment.
       The court advised the defendant of the consequences of his plea, including, the
maximum fine and the maximum term of imprisonment.
       With respect to Count One, the defendant was advised that the maximum fine is
$10,000,000; the maximum term of imprisonment is life; and the maximum period of
supervised release is life.
       The court advised the defendant that he was pleading guilty under a plea agreement
with the Government that provided for the imposition of a specific, agreed sentence at the
time of the sentencing hearing. After confirming that a copy of the written plea agreement
was in front of the defendant and his attorney, the court determined that the defendant
understood the terms of the plea agreement. The court explained to the defendant that at
the sentencing hearing, the district judge would consider whether or not to accept the plea
agreement and impose the agreed sentence. If the district judge decided to accept the plea
agreement and impose the agreed sentence, then the defendant would receive the agreed
sentence. If the district judge decided to reject the plea agreement and impose a different


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sentence, then the defendant would have an opportunity to withdraw his plea of guilty and
plead not guilty. The court further advised the defendant that pursuant to the terms of the
plea agreement, which provided that he was pleading guilty pursuant to Rule 11(c)(1)(C),
Federal Rules of Criminal Procedure, he would be sentenced to a term of imprisonment
of 120 months (ten years). The court explained to the defendant that if the district judge
rejected the plea agreement and the defendant did not withdraw his guilty plea, then the
court could dispose of the case less favorably toward him than the plea agreement
contemplated, including imposing a longer sentence than the one to which the parties had
agreed in the plea agreement.
       The defendant also was advised that the court was obligated to impose a special
assessment of $100.00 which he must pay.          He also was advised of the collateral
consequences of a plea of guilty. The defendant acknowledged that he understood all of
the above consequences.
       The court then explained supervised release to the defendant, and advised the
defendant that a term of supervised release would be imposed in addition to the sentence
of imprisonment. The defendant was advised that among other conditions of supervised
release, he could not commit another federal, state, or local crime while on supervised
release, and he could not possess illegal controlled substances while on supervised release.
The defendant was advised that if he were found to have violated a condition of supervised
release, then his term of supervised release could be revoked and he could be required to
serve in prison all or part of the term of supervised release without credit for time
previously served on supervised release.
       The defendant was advised that parole has been abolished.
       Defendant also acknowledges that his plea agreement contains an appeal waiver,
and he agrees to waive his appeal rights as set out in that waiver.




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       The defendant indicated he had conferred fully with and was fully satisfied with his
attorney. The defendant’s attorney indicated that the attorney had had full access to the
Government’s discovery materials, and they supported a factual basis for the plea.
       The defendant was advised fully of his right to plead not guilty, and have a jury
trial, including:
       1.     The right to assistance of counsel at every stage of the pretrial and trial
              proceedings;
       2.     The right to a speedy, public trial;
       3.     The right to have his case tried by a jury selected from a cross-section of the
              community;
       4.     That he would be presumed innocent at each stage of the proceedings, and
              would be found not guilty unless the Government could prove each and
              every element of the offense(s) beyond a reasonable doubt;
       5.     That the Government could call witnesses into court, but the defendant’s
              attorney would have the right to confront and cross-examine those witnesses;
       6.     That the defendant would have the right to see and hear all witnesses
              presented at trial;
       7.     That the defendant would have the right to subpoena defense witnesses to
              testify at the trial, and if he could not afford to pay the mileage and other
              fees to require the attendance of those witnesses, then the Government would
              be required to pay those costs;
       8.     That the defendant would have the privilege against self incrimination; i.e.,
              he could choose to testify at trial, but he need not do so, and if he chose not
              to testify, then the court would, if the defendant requested, instruct the jury
              that the defendant had a constitutional right not to testify;
       9.     That any verdict by the jury would have to be unanimous;
       10.    That he would have the right to appeal, and if he could not afford an attorney
              for the appeal, then the Government would pay the costs of an attorney to
              prepare the appeal.
       The defendant also was advised of the rights he would waive by entering a plea of
guilty. The defendant was told there would be no trial, he would waive all the trial rights


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just described, and he would be adjudged guilty without any further proceedings except for
sentencing.
          The defendant then confirmed that his decision to plead guilty was voluntary and
was not the result of any promises other than plea agreement promises, and his decision
to plead guilty was not the result of any threats, force, or anyone pressuring him to plead
guilty.
          The defendant then confirmed that he still wished to plead guilty, and he pleaded
guilty to Count One of the Indictment.
          The court finds the following with respect to the defendant’s guilty plea:
          1.     The guilty plea was voluntary, knowing, not the result of force, threats or
                 promises, except plea agreement promises, and the defendant is fully
                 competent.
          2.     The defendant is aware of the maximum punishment.
          3.     The defendant knows his jury rights.
          4.     The defendant has voluntarily waived his jury rights.
          5.     There is a factual basis for the plea.
          6.     The defendant is, in fact, guilty of the crime to which he is pleading guilty.
          The defendant has executed a Consent to the court’s Inspection of Presentence
Report Prior to Guilty Plea. The defendant was advised that a written presentence
investigation report would be prepared to assist the court in sentencing. The defendant was
asked to provide the information requested by the U.S. Probation Office to prepare the
presentence investigation report. The defendant was told that he and his counsel would
have an opportunity to read and object to the presentence report before the sentencing
hearing, and he and his counsel would be afforded the opportunity to be heard at the
sentencing hearing.
          The defendant was advised that the failure to file written objections to this Report
and Recommendation within 14 days of the date of its service would bar him from


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attacking this court’s Report and Recommendation, which recommends that the assigned
United States District Judge accept the defendant’s plea of guilty. A copy of this Report
and Recommendation was served on the defendant and his attorney at the conclusion of the
proceeding.
      DONE AND ENTERED at Sioux City, Iowa, this 15th day of March, 2012.




                                         PAUL A. ZOSS
                                         CHIEF MAGISTRATE JUDGE
                                         UNITED STATES DISTRICT COURT




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